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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

SHANADOLYN JOHNSON AND                            §
BRIAN A. BREWER - TRUSTEE                         §
                                                  §
v.                                                §        CIVIL ACTION NO. 4:18-CV-01284
                                                  §
WILMINGTON SAVINGS FUND                           §
SOCIETY, FSB                                      §




                 PLAINTIFFS’ CERTIFICATE OF INTERESTED PARTIES

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

        COMES NOW Shanadolyn Johnson and Brian A. Brewer - Trustee, Plaintiffs herein, and

in accordance with Rule 7.1 of the Federal Rules of Civil Procedure, filing this their Certificate

of Interested Parties and in support hereof would respectfully show the Court as follows:

        1.      Plaintiffs:

                Shanadolyn Johnson
                Brian A. Brewer - Trustee
                c/o Robert C. Vilt
                Texas Bar No. 00788586
                S.D. Bar No. 20296
                clay@viltlaw.com
                Vilt and Associates, P.C.
                5177 Richmond Avenue, Suite 1142
                Houston, TX 77056
                Telephone:     713.840.7570
                Facsimile:     713.877.1827




CERTIFICATE OF INTERESTED PARTIES                                                   1
FEDERAL RULES OF CIVIL PROCEDURE
Civil Action No. 4:18-cv-01284; Shanadolyn Johnson and Brian A. Brewer - Trustee v. Wilmington Savings Fund
Society, FSB
       Case 4:18-cv-01284 Document 8 Filed on 09/14/18 in TXSD Page 2 of 3




        2.      Defendant:

                Wilmington Savings Fund Society, FSB
                c/o Michael F. Hord Jr.
                Texas Bar No. 00784294
                S.D. Bar No. 16035
                mhord@hirschwest.com
                Eric C. Mettenbrink
                Texas Bar No. 24043819
                S.D. Bar No. 569887
                emettenbrink@hirschwest.com
                Hirsch & Westheimer, P.C.
                1415 Louisiana, 36th Floor
                Houston, TX 77002
                Telephone:     713.220.9182
                Facsimile:     713.223.9319

                                                           Respectfully submitted,

                                                                   VILT AND ASSOCIATES, P.C.

                                                           By:    /s/ Robert C. Vilt
                                                                 Robert C. Vilt
                                                                 Texas Bar No. 00788586
                                                                 S.D. Bar No. 20296
                                                                 Email: clay@viltlaw.com
                                                           5177 Richmond Avenue, Suite 1142
                                                           Houston, TX 77056
                                                           Telephone:    713.840.7570
                                                           Facsimile:    713.877.1827




CERTIFICATE OF INTERESTED PARTIES                                                   2
FEDERAL RULES OF CIVIL PROCEDURE
Civil Action No. 4:18-cv-01284; Shanadolyn Johnson and Brian A. Brewer - Trustee v. Wilmington Savings Fund
Society, FSB
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                                    CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Certificate of Interested parties was sent to the
following by the Court’s CM/ECF system on this the 14th day of September, 2018.

        Michael F. Hord Jr.
        Eric C. Mettenbrink
        Hirsch & Westheimer, P.C.
        1415 Louisiana, 36th Floor
        Houston, TX 77002



                                                  By:     /s/ Robert C. Vilt
                                                          ROBERT C. VILT




CERTIFICATE OF INTERESTED PARTIES                                                   3
FEDERAL RULES OF CIVIL PROCEDURE
Civil Action No. 4:18-cv-01284; Shanadolyn Johnson and Brian A. Brewer - Trustee v. Wilmington Savings Fund
Society, FSB
